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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                         CASE NO . 12-80054-CR -ZLOCH

 UNITED STATES OF AMERICA ,

               Plaintiff ,

 VS .                                                     O R D E R

 BR ENDA CHARLESTAIN ,

               Defendant .
                                       /
        THIS    MATTER   is   before       the   Court   upon     the   Report   and
  Recommendation (DE 54) filed herein by United States Magistrate
  Judge Rob in S . Rosenbaum , and Defendant Brenda Charlestain 's Motion
  To Declare 18 U .S.C . 5 922(d)          Unconstitutional And To Thereafter
  Dismiss Counts And 4 of the Indictment (DE 48). No Objections to
  said Report have been filed . The Court has conducted a éq novo
  review of the entire record herein and is otherwise fully advised in
  the premises .
        Accordingly , after due consideration , it is
        ORDERED AMn ADJUDGED as follows :
           The Report and Recommendation (DE 54) filed herein by United
  States Magistrate Judge Robin S . Rosenbaum be and the same is hereby
  approved , adopted and ratified by the Court; and
           Defendant Brenda Charlestain 's Motion To Declare 18 U .S .C .
  5 922 (d)(1) Unconstitutional And To Thereafter Dismiss Counts 3 And
  4 of the Indictment (DE 48) be and the same is hereby DENIED .
        DoxE Aun ORDERED in c          mbers at Fort Lauderdale, Broward
  county, Florida, this t?d ee day of May, 2012.

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                                       W IL LIAM J . ZLO CH
                                       United States District Judge
  Copies furnished :
  The Honorable Robin S . Rosenbaum
  United States Magistrate Judge
  Al1 Counsel of Record
